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     WIKIMEDIA FOUNDATION
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 7
                            UNITED STATES DISTRICT COURT
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                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                     SAN JOSE DIVISION
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     GOOGLE, INC.,                          )         Case No. 5:17-cv-04207-EJD
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                                            )
13                               Plaintiff, )         [PROPOSED] ORDER GRANTING
                                            )         MOTION FOR LEAVE TO FILE
14        v.                                )         AMICUS CURIAE BRIEF OF THE
                                            )         WIKIMEDIA FOUNDATION AND
15   EQUUSTEK SOLUTIONS INC., CLARMA                  DECLARATION OF JACOB ROGERS
                                            )
     ENTERPRISES, INC., and ROBERT ANGUS,             IN SUPPORT OF GOOGLE’S MOTION
16                                          )
                                            )         FOR PRELIMINARY INJUNCTIVE
                               Defendants.            RELIEF
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                          [PROPOSED] ORDER GRANTING MOT. FOR LEAVE TO FILE
                                AMICUS CURIAE BRIEF AND ROGERS DECL.
                                      Case No. 5:17-cv-04207-EJD
         Case 5:17-cv-04207-EJD Document 40 Filed 10/06/17 Page 2 of 2


 1             Before the Court is the Wikimedia Foundation’s motion for leave to file an amicus curiae

 2   brief and declaration of Jacob Rogers in Support of Plaintiff’s Motion for Preliminary Injunctive

 3   Relief.

 4             Having considered the motion and good cause appearing, it is hereby ORDERED that the

 5   motion for leave to file the amicus curiae brief and declaration is GRANTED.

 6             IT IS SO ORDERED.

 7
             October 6, 2017
 8   DATED: ___________________                    ______________________________________
                                                   Hon. Edward J. Davila
 9                                                 United States District Judge
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                                [PROPOSED] ORDER GRANTING MOT. FOR LEAVE TO FILE
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                                            Case No. 5:17-cv-04207-EJD
